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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

 JASON HERSH,

        Plaintiff,                                         Case No. 0:19-cv-61187

 v.

 GLOBAL MANAGEMENT ACQUISITION
 FIRM INC.,

       Defendant.
 ________________________________________/

                       MOTION FOR ORDER TO SHOW CAUSE
                      WHY DEFAULT SHOULD NOT BE ENTERED

        The Plaintiff, Jason Hersh, by and through undersigned counsel, hereby files this Motion

 for Order to Show Cause Why Default Should Not Be Entered, and states in support thereof:

        1.      The Plaintiff filed the Complaint against Global Management Acquisition Firm

 Inc. (“Global Management”) on May 9, 2019. See Dkt. No. 1.

        2.      Global Management was served with the Summons and Amended Complaint on

 June 8, 2019. See Dkt. No. 5. Global Management had notice of this lawsuit well prior to that

 date, as Plaintiff attempted numerous times to obtain service on Global Management and had

 also mailed a copy of the Summons and Complaint to Global Management via certified mail,

 which arrived on June 3, 2019.

        3.      On June 14, 2019, Global Management filed an Answer to the Complaint. See

 Dkt. No. 4.

        4.      The Answer does not list any lawyer as representing Global Management.

 Instead, the Answer was filed by “Lamont Cooper, Secretary, Global Management Acquisition
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 Firm Inc.” The Answer lists Global Management’s address as 1911 Grayson Hwy, Suite 8-130,

 Grayson, GA 30017.

        5.      The Answer does not give any indication that Lamont Cooper is a licensed

 attorney. Undersigned counsel confirmed on the Florida Bar website that Lamont Cooper is not

 a member of the Florida Bar.

        6.      As the Court is aware, a business entity cannot appear pro se. A business entity

 can only appear in this Court through an attorney. See Kell v. Smith, 743 Fed. Appx. 292, 295

 (11th Cir. 2018) (“We have also recognized the well-established rule that a corporation is an

 artificial entity that cannot appear pro se and must be represented by counsel.”); Nat'l Indep.

 Theatre Exhibitors, Inc. v. Buena Vista Distribution Co., 748 F.2d 602, 609 (11th Cir. 1984)

 (“Moreover, corporations must always be represented by legal counsel.”); Palazzo v. Gulf Oil

 Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (“The rule is well established that a corporation is

 an artificial entity that can act only through agents, cannot appear pro se, and must be

 represented by counsel.”).

        7.      Thus, Global Management’s Answer is null and void. Since Global Management

 has not appeared in this lawsuit (and presumably will not appear through an attorney before the

 July 1, 2019 deadline for Global Management to respond to the Complaint), a default is due to be

 entered.

        8.      However, the Plaintiff recognizes that Global Management should be given an

 opportunity to engage an attorney and appear to defend this action before a default is entered.

        9.      For the foregoing reasons, the Plaintiff respectfully requests that the Court enter

 an Order to Show Cause Why Default Should Not Be Entered Against Global Management. The

 Plaintiff requests that the Order: (1) allow Global Management a reasonable period of time to


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 engage an attorney and appear to defend this lawsuit and (2) inform Global Management that if

 Global Management fails to appear through an attorney within such time, that a default will be

 entered against Global Management.

        WHEREFORE, the Plaintiff, Jason Hersh, respectfully requests that the Court enter an

 Order which: (1) allows Global Management a reasonable period of time to engage an attorney

 and appear to defend this lawsuit; and (2) informs Global Management that if Global

 Management fails to appear through an attorney within such time, that a default will be entered

 against Global Management.

 DATED: June 20, 2019.                       Respectfully submitted,


                                             /s/ Joshua A. Mize
                                             Joshua A. Mize, Esq.
                                             Florida Bar No. 86163
                                             MIZE LAW, PLLC
                                             110 Front Street, Suite 300
                                             Jupiter, FL 33477
                                             Phone: (407) 913-6800
                                             Fax: (407) 604-7410
                                             Email: jmize@mize.law

                                             Attorney for the Plaintiff,
                                             Jason Hersh




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of June, 2019, a true and correct copy of the

 foregoing document was furnished by U.S. Certified Mail, Return Receipt Requested, to Global

 Management Acquisition Firm Inc., c/o Lamont Cooper, 1911 Grayson Hwy, Suite 8-130,

 Grayson, GA 30017



                                            /s/ Joshua A. Mize
                                            Joshua A. Mize, Esq.




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